                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                     Plaintiff,

       v.                                                        Case No. 16-CR-21

SAMY HAMZEH,

                     Defendant.


                                       ORDER TO SEAL



       Upon the motion of the United States Attorney for the Eastern District of Wisconsin, and

good cause appearing therefor,

       IT IS HEREBY ORDERED, pursuant to Rule 79(d) of the General Local Rules of the

United States District Court for the Eastern District of Wisconsin, that the government’s

submission filed on September 20, 2019, ECF NO. 290, filed in the above-named case, be

SEALED until further order of this Court.

       SO ORDERED this            day of September, 2019.




                                                   HONORABLE Pamela Pepper
                                                   United States District Judge




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